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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-199V
                                    Filed: November 7, 2017
                                         UNPUBLISHED


    MARGARET STEPHEN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Pneumococcal Conjugate Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Amber Diane Wilson, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.
Kathryn Ann Robinette, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On February 10, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered pain in her left arm resulting from a
pneumococcal vaccination received on June 8, 2015. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On August 18, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for a shoulder injury related to vaccine administration (“SIRVA”). On
November 7, 2017, respondent filed a proffer on award of compensation (“Proffer”)
indicating petitioner should be awarded $102,500.00 for pain and suffering and
$1,842.47 in past expenses. Proffer at 1. In the Proffer, respondent represented that


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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petitioner agrees with the proffered award. Based on the record as a whole, the
undersigned finds that petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $104,342.47, which amount represents
$102,500.00 for pain and suffering and $1,842.47 in past expenses, in the form of
a check payable to petitioner, Margaret Stephen. This amount represents
compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                     )
    MARGARET STEPHEN,                                )
                                                     )
                 Petitioner,                         )
                                                     )   No. 17-199V
    v.                                               )   Chief Special Master Dorsey
                                                     )   ECF
    SECRETARY OF HEALTH AND HUMAN                    )
    SERVICES,                                        )
                                                     )
                 Respondent.                         )
                                                     )

                        PROFFER ON AWARD OF COMPENSATION

         On August 18, 2017, the Chief Special Master issued a Ruling on Entitlement finding that

petitioner was entitled to vaccine compensation for her Shoulder Injury Related to Vaccine

Administration (“SIRVA”).

I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioner should be awarded

$102,500.00 for pain and suffering, and $1,842.47 in past expenses, which represents all

elements of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1

Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $104,342.47, in the form of a check payable to petitioner.

Petitioner agrees.



1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
                                                 1
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                                  Respectfully submitted,

                                  CHAD A. READLER
                                  Acting Assistant Attorney General

                                  C. SALVATORE D’ALESSIO
                                  Acting Director
                                  Torts Branch, Civil Division

                                  CATHARINE E. REEVES
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  HEATHER L. PEARLMAN
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Kathryn A. Robinette
                                  KATHRYN A. ROBINETTE
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DATED: November 7, 2017




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